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                        EXHIBIT R
             TO PLAINTIFF’S COMPLAINT
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From: Skidmore, Kim <kskidmore@jfti.com>
Sent: Thursday, August 18, 2022 8:48 AM
To: Scott Jaster <sjaster@myjetsystems.com>
Cc: Bradburn, Lucy <lbradburn@jfti.com>; Emerson, Bryana <bemerson@jfti.com>
Subject: RE: NEW JF TAYLOR ORDER / PO 309975 / QUOTE: ALF



Hello Scott,

Yes, as long as we get the signed acceptance letter. Please forward all invoices to purchasing@jfti.com.

Thank you!




From: Scott Jaster <sjaster@myjetsystems.com>
Sent: Wednesday, August 17, 2022 5:10 PM
To: Skidmore, Kim <kskidmore@jfti.com>
Cc: Bradburn, Lucy <lbradburn@jfti.com>; Emerson, Bryana <bemerson@jfti.com>
Subject: Re: NEW JF TAYLOR ORDER / PO 309975 / QUOTE: ALF



Confirmed receipt.



At this point, I can deliver to the government, acquire a signed product acceptance from them, and
submit that along with an invoice to JFTi and we are good?




Scotty Jaster
CEO & Chief Engineer
240.925.5908 (cell)

JET Systems, LLC
AS 9100:2016 and ISO 9001:2015 quality certified organization

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